T U.S.DISTRICT COURT
IN THE UNITED STATES DISTRICT COURT _ NorTHERN DISTRICT OF TEXAS
FOR THE NORTHERN DISTRICT OF TEXA$ FILED
DALLAS DIVISION DIVISION
1
UNITED STATES OF AMERICA § FEB | 8 2014
§
v. § CASE NO.: 3:13-CR}00446-8 75 Drsrpict COURT
; S.
WAYNE JOSEPH SWEENEY (1) § By Deputy

Case 3:13-cr-00446-G Document 29 Filed 02/18/14 Pag@+et+—Pa¢gelb-tes

 

 

 

 

 

 

 

 

REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

WAYNE JOSEPH SWEENEY (1), by consent, under authority of United States v. Dees, 125 F.3d 261 (Sth Cir.
1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count 1 of the
Indictment After cautioning and examining WAYNE JOSEPH SWEENEY (1) under oath concerning each of the subjects
mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense charged is
supported by an independent basis in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted, and that WAYNE JOSEPH SWEENEY (1) be adjudged guilty of 21
U.S.C. § 846 - Conspiracy to Distribute a Controlled Substance Analogue and have sentence imposed accordingly. After
being found guilty of the offense by the district judge,

[~The defendant is currently in custody and should be ordered to remain in custody.

O The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community

if released.

O The Government does not oppose release.

O The defendant has been compliant with the current conditions of release.

C I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
other person or the community if released and should therefore be released under § 3142(b) or (c).

O The Government opposes release.

O The defendant has not been compliant with the conditions of release.

O If the Court accepts this recommendation, this matter should be set for hearing upon motion of the

Government.

O The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there is a
substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing
evidence that the defendant is not likely to flee or pose a danger to any other person or the community if released.

Date: February 18, 2014

oP

“UNITED STATES MAGISTRATE JUDGE >

NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of
its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1)(B).
